Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 1 of 17




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 05-CV-480–MSK-CBS

  SECURITIES AND EXCHANGE COMMISSION

                                  Plaintiff,
  v.

  JOSEPH P. NACCHIO, et al.

                                  Defendants.


                      THE UNITED STATES' STATEMENT OF INTEREST
                     AND MOTION FOR ENTRY OF PROTECTIVE ORDER

          Pursuant to 28 U.S.C. § 5171, the United States files this Statement of Interest to oppose the

  disclosure of any information in this case relating to classified contracts, potential contracts, and all

  contacts and communications involving the U.S. Intelligence Community (as defined by the

  National Security Act of 1947, 50 U.S.C. § 401a(4)) and Qwest Communications International

  Corporation (“Qwest”), or its subsidiaries, current or former officers or employees. Agencies of

  the U.S. Intelligence Community are not parties to this litigation.2 Defendants Nacchio, Woodruff,

  Mohebbi, and Kozlowski, however, intend to seek in discovery information relating to classified

  contracts and potential contracts involving the U.S. Intelligence Community, as well as meetings

  and communications in which the Intelligence Community shared classified information with



           1
            28 U.S.C. § 517 provides that "any officer of the Department of Justice, may be sent by
   the Attorney General to any State or district in the United States to attend to the interests of the
   United States in a suit pending in a court of the United States . . . or to attend to any other interest
   of the United States."
           2
              Pursuant to Local Rule 7.1(A), undersigned counsel has conferred with counsel for the
   parties as to whether they will oppose the filing of this motion and will file a supplemental
   certificate of compliance upon receipt of all of the responses from the various parties.
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 2 of 17




  Qwest employees, including defendant Joseph Nacchio, former Chief Executive Officer of Qwest.

  Much of the information defendants seek is classified because its disclosure would cause serious,

  and in some instances, exceptionally grave harm to national security. Accordingly, the Director of

  National Intelligence, in conjunction with the heads of certain agencies within the U.S. Intelligence

  Community, has asserted the military and states secrets privilege (“state secrets privilege”), as well

  as a claim of statutory privilege. On the bases of these absolute privileges, the United States

  hereby moves for the entry of a protective order to protect against the disclosure of information that

  could implicate the national security interests of the United States.

         The grounds for this motion are set forth in the Memorandum in Support of United States'

  Statement of Interest and Motion for Entry of Protective Order, the accompanying unclassified

  Declaration and Formal Claim of State Secrets and Statutory Privileges By J. Michael McConnell,

  Director of National Intelligence, as well as the classified declarations lodged for the Court’s in

  camera, ex parte review.

                                                Respectfully submitted,
  Dated: November 19, 2007
                                                PETER D. KEISLER
                                                Assistant Attorney General

                                                /s/ Karen Richardson
                                                JOSEPH H. HUNT
                                                VINCENT M. GARVEY
                                                KAREN K. RICHARDSON
                                                Attorneys, Federal Programs Branch
                                                U.S. Department of Justice
                                                Civil Division, Room 6126
                                                Post Office Box 883
                                                Washington, DC 20044
                                                Tele. No.: (202) 514-3374
                                                Attorneys for the United States of America




                                                    -2-
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 3 of 17




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 05-CV-480–MSK-CBS

  SECURITIES AND EXCHANGE COMMISSION

                                 Plaintiff,
  v.


  JOSEPH P. NACCHIO, et al.

                                 Defendants.

              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                    UNITED STATES' STATEMENT OF INTEREST
                 AND MOTION FOR ENTRY OF PROTECTIVE ORDER3


         The United States seeks a protective order in this case to protect against the disclosure of

  information relating to any classified contracts, potential contracts, and contacts and

  communications involving agencies of the U.S. Intelligence Community (as defined by the

  National Security Act of 1947, 50 U.S.C. § 401a(4)) and Qwest Communications International

  Corporation (“Qwest”) and its subsidiaries, current or former officers or employees, including

  former Chief Executive Officer (“CEO”) Joseph Nacchio. Defendants Nacchio, Kozlowski,

  Mohebbi, and Woodruff intend to seek in discovery classified information relating to the U.S.

  Intelligence Community and Qwest.

         Although, during the relevant time period, Qwest had involvement in a few unclassified

  contracts awarded by the National Security Agency (“NSA”), much of the contract and contact



          3
              This is submitted pursuant to 28 U.S.C. § 517, which provides that "any officer of the
   Department of Justice, may be sent by the Attorney General to any State or district in the United
   States to attend to the interests of the United States in a suit pending in a court of the United
   States . . . or to attend to any other interest of the United States."
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 4 of 17




  information defendants seek relating to the Intelligence Community is classified and specifically

  protected from disclosure by the military and state secrets privilege (“state secrets privilege”). If

  properly invoked, as it is here by the Director of National Intelligence, that privilege acts as an

  absolute bar to disclosure of material that would harm national security -- regardless of a party's

  need for the information. See Declaration and Formal Claim of States Secrets and Statutory

  Privileges By J. Michael McConnell, Director of National Intelligence (hereinafter “McConnell

  Decl.”) (attached hereto as Exhibit 1); see also Classified Declarations lodged and available for the

  Court’s in camera, ex parte review (hereinafter “Classified Declarations”) (cover page for

  Classified Declarations attached as Exhibit 2). As explained in the declarations accompanying the

  United States' motion, because the exposure of the information at issue here could reasonably be

  expected to cause damage to the national security, the United States' interest in protecting such

  information from disclosure is paramount and must be safeguarded.

         The information requested by defendants is also protected from disclosure by Section

  102A(i)(1) of the Intelligence Reform and Terrorism Prevention Act of 2004, Pub. L No. 108-458,

  118 Stat. 3638 (Dec. 17, 2004) (amending sections 102 through 104 of Title I of the National

  Security Act of 1947 and codified at 50 U.S.C. § 403-1(i)(1)) because the information reveals

  intelligence sources and methods. This statutory protection, if invoked, as it is here, by the

  Director of National Intelligence, provides an absolute bar to the disclosure of national security

  information that the statutory provision was designed to protect.

          For these reasons, the Court should uphold the United States' assertion of the state secrets

  and statutory privileges and preclude the disclosure of any classified information relating to

  classified contracts, potential contracts, or contacts involving agencies of the U.S. Intelligence



                                                    -2-
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 5 of 17




  Community.

                                           BACKGROUND

         A.      Contracts and Contract Negotiations involving Qwest and the U.S. Intelligence
                 Community

         At various times during the relevant time period (1997 to 2002),4 officials and employees of

  several U.S. intelligence agencies or agencies with classified connections to the U.S. Intelligence

  Community were engaged in discussions with Qwest officers and employees, including Joseph

  Nacchio, the then-CEO of Qwest, relating to contracts and potential contracts with the government.

  See Classified Declarations. Some, but not all, of those negotiations involving Qwest officials

  resulted in contracts with the government. Id. With the exception of unclassified information,

  including certain, specific information related to unclassified contracts involving the NSA5, any

  information relating to actual or potential classified contracts involving or connected to the U.S.

  Intelligence Community, as well as all classified communications and contacts involving or

  connected to the U.S. Intelligence Community, and the identification of the specific agencies of the


          4
             Defendants Nacchio, Woodruff, Mohebbi and Kozlowski do not specify the time
   periods covered by their requests for information relating to the U.S. Intelligence Community.
   The claims raised by the Securities and Exchange Commission (“SEC”) cover the period 1999 to
   2002. See Complaint ¶ 1. Because the classified information at issue in Mr. Nacchio’s criminal
   proceedings, discussed below, covered information back to 1997, however, the United States
   reasonably interprets the defendants’ requests as being restricted to the time period 1997 to 2002.
   Should the Court determine that the information sought relates to other time periods, the United
   States reserves the right to assert any privileges as to information relating to those other time
   periods as well.
          5
              Qwest was an unsuccessful bidder for “Groundbreaker,” an information technology (IT)
   initiative awarded by NSA on or about July 31, 2001. In addition, Qwest may have other
   unclassified contracts with NSA for IT support and services. The fact that the contracts existed
   or that NSA was the contracting agency are not classified facts. Any information relating to the
   contracts, however, that would reveal the NSA’s mission, activities, infrastructure or
   technological capabilities is classified and must be protected from disclosure.

                                                   -3-
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 6 of 17




  U.S. Intelligence Community in relation to Qwest, are subject to the state secrets and statutory

  privileges. Id.

         B.         SEC Civil Enforcement Action

         On March 15, 2005, the SEC brought a civil enforcement action against Joseph Nacchio,

  the former CEO of Qwest, and six other Qwest officers alleging that, between 1999 and 2002, the

  defendants engaged in a fraudulent scheme designed to mislead the investing public about the

  company’s revenue and growth. See Complaint ¶ 1. The SEC alleges, among other things, that

  the defendants projected Qwest revenue and earnings that they knew were overly aggressive,

  fraudulently characterized non-recurring revenue (from one-time sales of fiber capacity in the form

  of indefeasible rights of use (IRUs) and equipment) as recurring data and Internet services

  revenues, and manipulated IRU transactions to meet revenue targets by, among other things,

  purchasing fiber that Qwest did not need to close IRU swap sales. Id. ¶¶ 3, 56-59, 62, 107.

         C.         Defendant Joseph Nacchio Convicted of Insider Trading

         On December 20, 2005, Joseph Nacchio was indicted on forty-two (42) counts of insider

  trading. See Indictment dated December 20, 2005, United States v. Nacchio, 2007 WL 222143,

  05-cr-0545 EWN (D. Colo.) (Exhibit 3). Mr. Nacchio was accused of improperly selling his

  Qwest stock during his tenure as CEO at Qwest when he knew, but did not reveal publicly, that

  Qwest was not likely to meet its publicly-stated financial goals. Id. As a defense to the criminal

  charges, Nacchio argued that he had remained optimistic that Qwest would overcome stiff

  competition and weak sales because he was privy to top-secret information relating to potential

  classified contracts with the government that he anticipated Qwest would be awarded. See

  Defendant Nacchio’s Response to The Government’s Memorandum Brief Regarding CIPA



                                                   -4-
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 7 of 17




  (unsealed), dated January 18, 2006 pgs. 4-5, United States v. Nacchio, 05-cr-0545 EWN (Exhibit

  4).6 On April 19, 2006, a jury found Mr. Nacchio guilty of nineteen (19) of the forty-two (42)

  charges against him. See Slip Opinion, United States v. Nacchio, 2007 WL 222143, 05-cr-0545

  EWN (D. Colo. July 27, 2007) (Exhibit 6). On August 3, 2007, Mr. Nacchio was sentenced to six

  years in prison and ordered to pay a $19 million fine. See Judgement in A Criminal Case, United

  States v. Nacchio, 2007 WL 2221437, 05-cr-00545 EWN (D. Colo. Aug. 3, 2007) (Exhibit 7).

         D.      Requests for Classified Information

         Defendants Woodruff, Mohebbi, and Kozlowski have submitted letters to the Department

  of Justice indicating that they will seek in discovery information relating to Qwest’s potential

  contracts with the government, contract negotiations, and communications between defendant

  Nacchio and the United States Government, as well as the types of telecommunications capacity

  and/or fiber at issue, the routes of the telecommunications capacity and/or fiber, and the potential

  dates of acquisition for the telecommunications capacity. 7 Defendant Nacchio presented his

  requests for information orally through his counsel to the undersigned Department of Justice

  counsel so as to avoid the possible disclosure of classified information. He requests in discovery

          6
             Although Mr. Nacchio’s criminal defense counsel were provided limited access to
   classified information relating to Qwest pursuant to the Classified Information Protection Act
   (“CIPA”), 18 U.S.C. Appx. III et seq., Mr. Nacchio ultimately did not introduce evidence relating
   to that defense. See Relevant pages of Sentencing Transcript, dated July 27, 2007, pg. 111,
   United States v. Nacchio, 2007 WL 222143, 05-cr-0545 EWN (D. Colo.) (district court noting at
   sentencing, in the course of denying Nacchio’s motion for bail pending appeal, that “[w]hen trial
   came, the [government contracts] defense was gone. There was nothing about that defense at
   all.”) (Exhibit 5).
          7
           See Letter dated July 18, 2007 from Kevin D. Evans to Karen Richardson, U.S.
   Department of Justice; Letter dated August 15, 2007 from Paul R. Grand to Karen Richardson,
   U.S. Department of Justice; Letter dated August 21, 2007 from David Meister to Karen
   Richardson, U.S. Department of Justice (letters attached as Exhibit 8).


                                                   -5-
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 8 of 17




  all of the classified information that he was provided during his criminal proceedings, as well as all

  of the classified information relating to Qwest and U.S. intelligence agencies that he requested, but

  was denied access to, during the criminal proceedings. He also seeks to depose the head of several

  Government agencies.8

                                             ARGUMENT

  I.     DISCLOSURE OF CLASSIFIED INFORMATION RELATING TO THE U.S.
         INTELLIGENCE COMMUNITY IS BARRED BY THE MILITARY AND STATE
         SECRETS PRIVILEGE

         The military and state secrets privilege is a unique privilege, with constitutional

  underpinnings, which permits the Government to protect against the unauthorized disclosure in

  litigation of information that may adversely affect national security interests. See United States v.

  Reynolds, 345 U.S. 1, 7-8 (1953); Al-Haramain v. Bush et al., __ F.3d __, 2007 WL 3407182, * 5

  No. 06-36083 (9th Cir. Nov. 16, 2007); Black v. United States, 62 F.3d 1115, 1118 (8th Cir. 1995),

  cert. denied, 517 U.S. 1154 (1996). “Although the state secrets privilege was developed at

  common law, it performs a function of constitutional significance” because the privilege derives

  from the President’s Article II powers to conduct foreign affairs and provide for the national

  defense. El-Masri v. United States, 479 F.3d 296, 303 (4th Cir. 2007), cert. den. __ U.S. __, 2007

  WL 1646914 (Oct. 9, 2007) (citing United States v. Nixon, 418 U.S. 683, 710 (1974)).

                 A.      The Standard of Review is a Narrow One, and a Properly
                         Invoked Claim of Privilege is an Absolute Bar to Disclosure

         The state secrets privilege is not limited to military secrets, but is “both expansive and



          8
             The United States reserves the right, pursuant to Rule 26 of the Federal Rules of Civil
   Procedure and otherwise, to raise objections to any discovery propounded or depositions noticed
   in the future by these or any of the other defendants.

                                                   -6-
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 9 of 17




  malleable.” Ellsberg v. Mitchell, 709 F.2d 51, 57 (D.C. Cir. 1983). The privilege protects a broad

  range of state secrets, including information that would result in “'impairment of the nation's

  defense capabilities, disclosure of intelligence-gathering methods or capabilities, and disruption of

  diplomatic relations with foreign governments.'” Black, 62 F.3d at 1118 (quoting Ellsberg, 709

  F.2d at 57); Kasza v. Browner, 133 F.3d 1159, 1166 (9th Cir.) (same), cert. denied, 525 U.S. 967

  (1998).9 The privilege extends to protect information that, on its face, may appear innocuous, but

  which in a larger context could reveal sensitive classified information:

                 It requires little reflection to understand that the business of foreign
                 intelligence gathering in this age of computer technology is more akin to the
                 construction of a mosaic than it is to the management of a cloak and dagger
                 affair. Thousands of bits and pieces of seemingly innocuous information
                 can be analyzed and fitted into place to reveal with startling clarity how the
                 unseen whole must operate.

  Halkin v. Helms (“Halkin I”), 598 F.2d 1, 8 (D.C. Cir. 1978).

          The state secrets privilege “belongs to the Government and must be asserted by it; it can

  neither be claimed nor waived by a private party.” Reynolds, 345 U.S. at 7; see also Kasza, 133

  F.3d at 1165. The privilege is properly invoked when the government makes [1] a "formal claim

  of privilege, [2] lodged by the head of the department which has control over the matter, after

  [3] actual personal consideration by that officer." Reynolds, 345 U.S. at 7-8 (footnotes omitted);

  Black, 62 F.3d at 1118. Thus, the responsible agency head must personally consider the matter and

  formally assert the claim of privilege.


          9
             See also Northrop Corp. v. McDonnell Douglas Corp., 751 F.2d 395, 400-402 (D.C.
   Cir. 1984) (Department of Defense documents containing national security information,
   including communications with foreign governments and intra-government letters, were
   privileged); Halkin v. Helms (“Halkin II”), 690 F.2d 977, 990, 993 (D.C. Cir. 1982) (Information
   concerning diplomatic relations with foreign governments and intelligence-gathering methods
   and capabilities was privileged).

                                                   -7-
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 10 of 17




           In deciding a state secrets privilege assertion, the proper standard of review is whether the

   United States has put forward reasonable grounds to conclude that disclosure or confirmation of

   the information at issue would harm national security. See Kasza, 133 F.3d at 1166 (the sole

   determination for the court is whether, “under the particular circumstances of the case, ‘there is a

   reasonable danger that compulsion of the evidence will expose military matters which, in the

   interest of national security, should not be divulged,’” quoting Reynolds, 345 U.S. at 10); see also

   In re United States, 872 F.2d 472, 475-76 (D.C. Cir. 1989); Tilden v. Tenet, 140 F. Supp. 2d 623,

   626 (E.D. Va. 2000). An assertion of the state secrets privilege “must be accorded the ‘utmost

   deference’ and the court’s review of the claim of privilege is narrow.” Kasza, 133 F.3d at 1166

   (quoting Reynolds, 345 U.S. at 10); see also Halkin I, 598 F.2d at 9; Black, 62 F.3d at 1119.

           The privilege may be invoked only by the government and may be asserted even when the

   government is not a party to the case.” Zuckerbraun v. General Dynamics Corp., 935 F.2d 544,

   546 (2d Cir. 1991) (citing Fitzgerald v. Penthouse Int'l, Ltd., 776 F.2d 1236 (4th Cir. 1985)). The

   role of the court is to assess the validity of the claim of privilege, satisfying itself that there is a

   reasonable danger that disclosure will harm national security. Zuckerbraun, 935 F.2d at 546-47.

   “[T]he government need not demonstrate that injury to the national interest will inevitably result

   from disclosure; a showing of 'reasonable danger' that harm will ensue is sufficient.” Ellsberg, 709

   F.2d at 58 (footnote omitted). In this regard, courts have been “willing[] to credit relatively

   speculative projections of adverse consequences [of disclosure].” Id. at 58 n.35.

           In considering the claim of military and state secrets privilege, the court should not “force a

   disclosure of the thing the privilege was meant to protect,” Reynolds, 345 U.S. at 8, although,

   where a party shows substantial need for the information, it is appropriate for the court to consider



                                                       -8-
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 11 of 17




   in camera and ex parte declarations or other submissions of the Government explaining why a

   matter should be protected, Al-Haramain, __F.3d __, * 11. See also, Black, 62 F.3d at 1119. See,

   e.g., Kasza, 133 F.3d at 1169; Farnsworth Cannon, Inc. v. Grimes, 635 F.2d 268, 281 (4th Cir.

   1980) (en banc); Maxwell v. First National Bank of Maryland, 143 F.R.D. 590, 595 (D. Md.

   1992).10 Likewise, a judicial opinion on a claim of military and state secrets privilege “should not

   strip the veil from state secrets even if ambiguity results in a loss of focus and clarity.” Black, 62

   F.3d at 1119; see also Ellsberg, 709 F.2d at 59 n.41 (Open, detailed discussion by a court of the

   application of general principles to particular facts is impossible in this area of the law).

           A properly invoked claim of privilege is an absolute bar to disclosure, no matter how

   compelling the need for the information, or relevance thereof, to a proper resolution of the case.

   Reynolds, 345 U.S. at 11; Black, 62 F.3d at 1119; Fitzgerald, 776 F.2d at 1240; Halkin II, 690 F.2d

   at 990. In other words, in assessing whether to uphold a claim of privilege, the court does not

   balance the respective needs of the parties for the information. Rather, “[o]nce the privilege is

   properly invoked and the court is satisfied as to the danger of divulging state secrets, the privilege

   is absolute[.]” Kasza, 133 F.3d at 1166; see also Reynolds, 345 U.S. at 11 (if the court determines


            10
                However, "[i]t is well settled that a trial judge called upon to assess the legitimacy of a
    state secrets privilege claim should not permit the requester's counsel to participate in an in
    camera examination of putatively privileged material. The rational for this rule is that our
    nation's security is too important to be entrusted to the good faith and circumspection of a
    litigant's lawyer (whose sense of obligation to his client is likely to strain his fidelity to his pledge
    of secrecy) or to the coercive power of a protective order." Ellsberg, 709 F.2d at 61; see also In
    re Eisenberg, 654 F.2d 1107, 1112 (5th Cir. 1981) ("Our adversarial legal system generally does
    not tolerate ex parte determinations on the merits of a civil case. . . . An exception to this
    principle is made when countervailing government interests dictate that information sought to be
    discovered should remain secret. Privilege questions are determined on the basis of in camera,
    ex parte examinations of the evidence."); In re Under Seal, 945 F.2d 1285 (4th Cir. 1991)
    (classified in camera affidavit reviewed by both the district court and court of appeals without
    being disclosed to plaintiff's counsel).

                                                      -9-
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 12 of 17




   that there exists a showing of harm which might reasonably flow from disclosure, the privilege

   cannot be overcome by "even the most compelling necessity."); In re Under Seal, 945 F.2d at 1288

   n.2 (“Upon proper invocation by the head of the affected department, the privilege renders the

   information unavailable regardless of the other party's need in furtherance of the action”);

   Northrop, 751 F.2d at 399 (state secrets privilege “cannot be compromised by any showing of need

   on the part of the party seeking the information.”).11 In short, the court may consider the necessity

   of the information to the case only in connection with assessing the sufficiency of the

   Government’s showing that there is a reasonable danger that disclosure of the information at issue

   would harm national security.

            B.     The United States Has Properly Invoked the State Secrets Privilege

            The United States has properly asserted the state secrets privilege in this case. The Director

   of National Intelligence, J. Michael McConnell, after personal consideration of the matter, has

   formally invoked the privilege on behalf of the United States with respect to the information

   described in his declaration. See Reynolds, 345 U.S. at 7-8; McConnell Decl. ¶¶ 2, 10, & 13 (Exh.

   1).12 The information subject to the privilege, as described in Paragraph 13 of the McConnell

            11
              "[I]n some circumstances sensitive military secrets will be so central to the subject
    matter of the litigation that any attempt to proceed will threaten disclosure of the privileged
    matters." Fitzgerald, 776 F.2d at 1241-42; Farnsworth, 635 F.2d at 281 ("[A]ny attempt on the
    part of the plaintiff to establish a prima facie case would so threaten disclosure of state secrets
    that the overriding interest of the United States and the preservation of its state secrets precludes
    any further attempt to pursue this litigation").
       12
             The public declaration is sufficient to establish the United States' state secrets privilege
    claim in this case. See Reynolds, 345 U.S. at 8 (the court should not “forc[e] a disclosure of the
    very thing the privilege is designed to protect”). However, more detailed descriptions of the
    national security concerns at issue in this case are contained in classified declarations which the
    United States has lodged for the Court’s in camera, ex parte consideration should the Court
    decide to review them. Because those declarations are classified, they can only be presented for
    the Court's in camera, ex parte review, and the Department of Justice Security Office is prepared

                                                     -10-
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 13 of 17




   Declaration, includes any material responsive to the defendants' requests for information that

   would reveal the identities of the agencies with which Qwest had classified contracts and potential

   contracts, the identities of the government officials with whom Qwest officials (and specifically

   defendant Joseph Nacchio) discussed classified contracts and potential contracts, the underlying

   purpose of, or work to be performed under, the classified contracts, and any other classified

   contacts and communications of any kind that involved Qwest, defendant Nacchio, and any other

   current or former executive or employee of Qwest. McConnell Decl. at ¶ 13; see also Classified

   Declarations. After personal consideration of the matter, the Director of National Intelligence

   concluded that disclosure of information described generally in Paragraph 13 of his declaration,

   and more specifically detailed in the accompanying classified declarations submitted for in camera,

   ex parte review, “reasonably could be expected to cause damage to the foreign relations and the

   national defense of the United States.” McConnell Decl. ¶ 1413; see also Classified Declarations.

   He further explains that

          “any inquiry into the information described in paragraph 13 . . . would risk unauthorized
          disclosure of intelligence sources and methods. . . . Disclosure of classified information
          related to intelligence sources or methods informs hostile foreign intelligence agencies
          about specific ways that the United States collects intelligence, and results in a loss of
          valuable intelligence when our adversaries are able to take countermeasures.”

   McConnell Decl. ¶ 15.

          Based on the conclusion by the Director of National Intelligence, upon personal



    to arrange for this Court's review of the classified declarations in a secure setting at the Court's
    convenience.
           13
                Any unclassified document that was made available on the public record or produced
    during the criminal proceedings against Joseph Nacchio, United States v. Nacchio, 05-cr-
    005450EDN (D. Colo.), may be requested by any party to this action and disclosed by the United
    States, if relevant.

                                                     -11-
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 14 of 17




   consideration, that damage to the national security reasonably could be expected to result from any

   disclosure of information that would reveal any classified relationship, contract, or contact between

   the U.S. Intelligence Community and Qwest (and any of its subsidiaries, current or former officers

   or employees), the United States’ assertion of the state secrets claim meets the narrow standard of

   review to which the state secrets claim is subject and should be upheld. It is the nation's

   intelligence experts who are in a position to determine what particular fact or bit of information

   may compromise national security in a particular context. If there is no reason to question the

   credibility of the experts, a court should hesitate to substitute its judgment of the sensitivity of the

   information for that of the agencies or the Director of National Intelligence. See Frugone v. Central

   Intelligence Agency, 169 F.3d 772, 775 (D.C. Cir. 1999) (“Mindful that courts have little expertise

   in either international diplomacy or counterintelligence operations, we are in no position to dismiss

   the CIA’s facially reasonable concerns” about the harm that disclosure could cause to the national

   security); see also Halkin I, 598 F.2d at 9; Black, 62 F.3d at 1119.14

          In view of the United States' showing with respect to national security interests, any

   disclosure of the information described in Mr. McConnell’s Declaration, whether in response to the

   parties' requests for discovery or otherwise, must be completely barred, no matter how compelling



            14
               For that same reason, none of the parties can contribute informed opinions as to the
    validity of the assertion of the state secrets privilege. See Snepp v. United States, 444 U.S. 507,
    512 (1980) ("When a former agent relies on his own judgment about what information is
    detrimental, he may reveal information that CIA – with its broader understanding . . . could have
    identified as harmful."); see also ACLU v. U.S. Dep't of Justice, 548 F.Supp. 219, 222, 223
    (D.D.C. 1982) (The Court does not “perceive any way in which the adversary proceedings in
    connection with plaintiff's participation in the in camera review could assist [the court], even if
    adequate security precautions could be arranged."); Gardels v. Central Intelligence Agency, 689
    F.2d 1100, 1106 (D.C. Cir.1982) ("[P]laintiff's material does no more than differ from the
    Agency's informed position which we must accept if plausible and reasonable.").

                                                     -12-
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 15 of 17




   any party's alleged need for the information. Reynolds, 345 U.S. at 11; Northrop, 751 F.2d at 399;

   Halkin II, 690 F.2d at 990.

   II.     A CLAIM OF STATUTORY PRIVILEGE HAS ALSO BEEN PROPERLY RAISED
           IN THIS CASE

           In addition to the state secrets privilege, Congress has provided statutory protection against

   disclosure of the type of national security information requested by Defendants Nacchio,

   Woodruff, Mohebbi, and Kozlowski in this case. Section 102A(i)(1) of the Intelligence Reform

   and Terrorism Prevention Act of 2004, Pub. L. No. 108-458, 118 Stat. 3638 (Dec. 17, 2004),

   codified at 50 U.S.C. § 403-1(i)(1), amending the National Security Act of 1947 (hereinafter

   “National Security Act of 1947"), requires the Director of National Intelligence to “protect

   intelligence sources and methods from unauthorized disclosure.” The authority to protect

   intelligence sources and methods from disclosure is rooted in the “practical necessities of modern

   intelligence gathering,” Fitzgibbon v. CIA, 911 F.2d 755, 761 (D.C. Cir. 1990), and has been

   described by the Supreme Court as both “sweeping,” CIA v. Sims, 471 US. 159, 169 (1985), and

   “wideranging.” Snepp, 444 U.S. at 509. Sources and methods constitute “the heart of all

   intelligence operations,” Sims, 471 U.S. at 167, and “[i]t is the responsibility of the [Intelligence

   Community], not that of the judiciary, to weigh the variety of complex and subtle factors in

   determining whether disclosure of information may lead to an unacceptable risk of compromising

   the . . . intelligence-gathering process.” Id. at 180.

           This statutory privilege has been properly asserted as to any intelligence-related

   information, sources and methods implicated by defendants’ discovery requests, and the

   information covered by this statutory privilege is at least co-extensive with the assertion of the state

   secrets privilege by the Director of National Intelligence. See McConnell Decl. ¶¶ 11, 15.

                                                      -13-
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 16 of 17




   Moreover, the statutory protection afforded pursuant to the National Security Act of 1947, as

   amended, reinforces the conclusion that the assertion of the state secrets privilege here is valid, and

   provides an additional, independent basis for that conclusion. The fact that intelligence sources

   and methods, including information concerning activities and capabilities of the U.S. Intelligence

   Community, are subject to an express statutory prohibition on disclosure underscores that the need

   to protect such information does not reflect solely a policy judgment by the Executive Branch, but

   the judgment of Congress as well.

          Because the information requested by the defendants concerns intelligence sources and

   methods and is subject to the state secrets privilege, as well as statutory protection, that

   information must be excluded from this litigation. That the assertion of the statutory and state

   secrets privileges might leave a party to litigation “in the dark” is nothing extraordinary or unusual.

   Such was the case in Farnsworth, 635 F.2d at 281, where the plaintiff's counsel was left unaware of

   the scope of excluded information, as well as in Maxwell, 143 F.R.D. at 599-600, where one of the

   parties’ counsel was rebuffed in his attempts to discover matters with respect to which the state

   secrets privilege had been asserted. In such instances, the United States simply has an “overriding

   interest.” See Farnsworth, 635 F.2d at 281. Accordingly, the Court should issue a protective order

   prohibiting the disclosure of the protected information at issue in this case.

                                              CONCLUSION

          For the foregoing reasons, the United States' assertion of state secrets and statutory

   privileges should be upheld, and its accompanying motion for a protective order should be granted.

                                                  Respectfully submitted,
   Dated: November 19, 2007
                                                  PETER D. KEISLER
                                                  Assistant Attorney General

                                                     -14-
Case 1:05-cv-00480-MSK-CBS Document 328 Filed 11/19/07 USDC Colorado Page 17 of 17




                                                /s/ Karen Richardson
                                                JOSEPH H. HUNT
                                                VINCENT M. GARVEY
                                                KAREN K. RICHARDSON
                                                Attorneys, U.S. Department of Justice
                                                Civil Division, Room 6126
                                                Post Office Box 883
                                                Washington, DC 20044
                                                Tele. No.: (202) 514-3374
                                                Attorneys for the United States of America

          I hereby certify that on November 19, 2007, I electronically filed the foregoing with the
   Clerk of Court using the ECF system, which will send notification of such filing to the following e-
   mail addresses:

   Polly Arlene Atkinson, atkinsonp@sec.gov; \
   Patricia E. Foley, foleyp@sec.gov;
   Thomas J. Krysa, krysat@sec.gov;
   Barbara Wells, WellsB@SEC.gov;
   Alain Leibman, aleibman@sgklaw.com;
   Edward S. Nathan, enathan@sgklaw.com;
   Herbert J. Stern, hstern@sgklaw.com;
   Jeffrey Speiser, jspeiser@sgklaw.com,
   Joel M. Silverstein, jsilverstein@sgklaw.com;
   Terry Trantina, ttrantina@sgklaw.com;
   David Lawrence Cook, david.cook@cliffordchance.com;
   David Meister, david.meister@cliffordchance.com;
   James D. Miller, james.miller@cliffordchance.com;
   Richard B. Caschette, rcaschette@starrslaw.com;
   Dean Steven Neuwirth, deanneuwirth@comcast.net;
   Patrick J. Burke, Patrick-J-Burke@msn.com;
   Paul R. Grand, pgrand@maglaw.com;
   Jennifer Achilles, jachilles@maglaw.com;
   Kristy Watson Milkov, kmilkov@maglaw.com;
   Kevin D. Evans, kdevans@s-elaw.com;
   Phillip Douglass, pdouglass@s-elaw.com;
   Forrest W. Lewis, flewispc@aol.com

           I also hereby certify that I have mailed or served the document or paper to the following
   non CM/ECF participants in the manner (mail, hand delivery, etc.) indicated by the
   nonparticipant’s name: Wesley Railey Powell, Clifford Chance, US LLP-New York, 31 West 52nd
   Street, New York, NY 10019.

                                         /s/ Karen Richardson

                                                  -15-
